               CORRECTED CERTIFICATE OF SERVICE

       I, Kannon K. Shanmugam, counsel for appellants Exxon Mobil Corpo-

ration and ExxonMobil Oil Corporation and a member of the bar of this Court,

certify that, on September 9, 2021, the Reply Brief of Appellants was filed

through the Court’s electronic filing system. I certify that all participants in

the case are registered users with the electronic filing system and that service

will be accomplished by that system. I certify that, on September 13, 2021, ten

copies of the Reply Brief of Appellants were served, by third-party commercial

carrier for delivery overnight, on the Clerk of Court. I further certify that, on

September 15, 2021, one copy of the Reply Brief of Appellants was served, by

third-party commercial carrier for delivery overnight, on the following coun-

sel:

       Leigh Currie
       State of Minnesota
       Special Assistant Attorney General
       445 Minnesota Street, Suite 1400
       St. Paul, MN 55101


                                            /s/ Kannon K. Shanmugam
                                            KANNON K. SHANMUGAM

SEPTEMBER 15, 2021




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